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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT


 ARHELY GONZALEZ-CUEVAS,                                CASE NO.:
                                                        3:19-cv-1034-RNC
                         Plaintiff,

 v.                                                     ANSWER TO
                                                        COMPLAINT
 JAMES GLOVER AND
 ABF FREIGHT SYSTEM, INC.,

                         Defendants.                    NOVEMBER 7, 2019

___________________________________


       NOW COME defendants Justin Knowlton and Pottle’s Transportation, LL, by and

through their undersigned counsel, and for their answer to the Plaintiff’s complaint dated

Plaintiff’s Complaint dated June 17, 2019 [ECF No. 1, Exhibit A] hereby state and allege as

follows:



Count One – Arhely Gonzalez-Cuevas v. James Glover

       1.      The Defendants are without sufficient information or knowledge to admit or

deny the allegations of paragraph 1 and, therefore, leave the Plaintiff to her proof.

       2.      Admitted.

       3.      Admitted.

       4.      The Defendants are without sufficient information or knowledge

to admit or deny the allegations of paragraph 4 and, therefore, leave the Plaintiff to her proof.

       5.      Admitted.


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        6.      Admitted.

        7.      Admitted.

        8.      The allegations of Paragraph 8 are denied as phrased. The Defendants admit

that there was contact between the front of the defendant vehicle and the rear of the plaintiff

vehicle.

        9.      The allegations of Paragraph 9.d. are admitted, excepting the words “and

injuries sustained by plaintiff, Arhely Gonzalez-Cuevas”. As to the excepted words, the

Defendants are without sufficient information or knowledge to admit or deny the same and,

therefore, leave the Plaintiff to her proof.

        The allegations of Paragraphs 9.a. - 9.c., and 9.e. through 9.l. are denied.

        10.     The Defendants are without sufficient information or knowledge to admit or

deny the allegations of paragraph 10 and, therefore, leave the Plaintiff to her proof.

        11.     The Defendants are without sufficient information or knowledge to admit or

deny the allegations of paragraph 11 and, therefore, leave the Plaintiff to her proof.

        12.     The Defendants are without sufficient information or knowledge to admit or

deny the allegations of paragraph 12 and, therefore, leave the Plaintiff to her proof.



Count Two – Arhely Gonzalez-Cuevas v. ABF Freight System, Inc.

        1. The Defendants are without sufficient information or knowledge to admit or deny

the allegations of paragraph 1 and, therefore, leave the Plaintiff to her proof.

        2. Admitted.

        3. Admitted.


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        4. The Defendants are without sufficient information or knowledge to admit or deny

the allegations of paragraph 4 and, therefore, leave the Plaintiff to her proof.

        5. Admitted.

        6. Admitted.

        7. Admitted.

        8. The allegations of Paragraph 8 are denied as phrased. The Defendants admit that

there was contact between the front of the defendant vehicle and the rear of the plaintiff

vehicle.

        9. The allegations of Paragraph 9.d. are admitted, excepting the words “and injuries

sustained by plaintiff, Arhely Gonzalez-Cuevas”. As to the excepted words, the Defendants

are without sufficient information or knowledge to admit or deny the same and, therefore,

leave the Plaintiff to her proof.

        The allegations of Paragraphs 9.a. - 9.c., and 9.e. through 9.l. are denied.

        10. The Defendants are without sufficient information or knowledge to admit or deny

the allegations of paragraph 10 and, therefore, leave the Plaintiff to her proof.

        11. The Defendants are without sufficient information or knowledge to admit or deny

the allegations of paragraph 11 and, therefore, leave the Plaintiff to her proof.

        12. The Defendants are without sufficient information or knowledge to admit or deny

the allegations of paragraph 12 and, therefore, leave the Plaintiff to her proof.

        13. Admitted.

        14. Admitted.




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        15. Admitted that at the time of the accident Defendant James Glover was operating

his vehicle in his capacity as an employee of Defendant ABF Freight System, Inc.

        16. The allegations of Paragraph 16 purport to state a legal conclusion. Therefore,

the defendants neither admit nor deny the same, but leave the plaintiff to her proof.

        17. The Defendants are without sufficient information or knowledge to admit or

deny the allegations of paragraph 17 and, therefore, leave the Plaintiff to her proof.

        18. The Defendants are without sufficient information or knowledge to admit or

deny the allegations of paragraph 18 and, therefore, leave the Plaintiff to her proof.



                                       JURY CLAIM

        Pursuant to FED.R.CIV.P. 38, the defendants respectfully demand trial by jury on all

issues so triable.


                                              Respectfully submitted,

                                              By:     /s/ Michael P. Kenney ___
                                                    Michael P. Kenney
                                                    Federal Bar No. ct26768
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                                              Date: November 6, 2019




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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

 ARHELY GONZALEZ-CUEVAS,                                CASE NO.:
                                                        3:19-cv-1034-RNC
                         Plaintiff,

 v.                                                     CERTIFICATE OF
                                                        SERVICE
 JAMES GLOVER AND
 ABF FREIGHT SYSTEM, INC.,

                         Defendants.                    NOVEMBER 7, 2019

___________________________________



         I hereby certify that on November 7, 2019, a copy of the foregoing document was
filed electronically and served by mail upon anyone unable to accept electronic filing. Notice
of this filing will be sent by e-mail to all parties by operation of the Court's electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the Court's CM/ECF System.




                                                _____/s/ Michael P. Kenney_______
                                                Michael P. Kenney
                                                Fed. Bar No. ct26768




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